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                   EXHIBIT 4
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                                                LAW OFFICES
                                         SHAFER & ASSOCIATES, P.C.
                                       A PROFESSIONAL CORPORATION
                                      3800 CAPITAL CITY BLVD., SUITE 2                           MATTHEW J. HOFFER
                                              LANSING, MI 48906                                      matt@bradshaferlaw.com
                                         E-MAIL info@bradshaferlaw.com
BRADLEY J. SHAFER                            PHONE: 517-886-6560                              ZACHARY M. YOUNGSMA
                                                                                                       ALSO MEMBER, NV BAR
  ALSO MEMBER, AZ BAR                          FAX: 517-886-6565                                     zack@bradshaferlaw.com
brad@bradshaferlaw.com




                                                 January 18, 2022


    VIA ELECTRONIC MAIL ONLY
    Dr. David L. Eisler, President                               Dr. Randy Cagle, Dean
    Ferris State University                                      College of Arts, Sciences and Education
    Office of the President                                      Arts & Science Commons
    1201 S. State Street                                         820 Campus Drive, ASC 3052
    Timme Center, CSS 301                                        Big Rapids, MI 49307
    Big Rapids, MI 49307                                         CagleR@Ferris.edu
    President@Ferris.edu


    Re:        DEMAND TO REINSTATE DR. BARRY MEHLER

    Drs. Eisler and Cagle:

             Please be advised that I represent Dr. Barry Mehler with respect to Ferris State
    University’s unlawful decision to suspend him in response to an introductory course video.
    It is hereby demanded that the University cease its ongoing violation of University policy and
    the First Amendment, and immediately remove Dr. Mehler from suspension and reinstate
    him to his position prior to the suspension, including restoration of his Canvas class pages
    and faculty page. It is further demanded that the University end its investigation of Dr.
    Mehler.

          I am shocked, appalled, and, frankly, disappointed by the University’s decision to
    suspend Dr. Mehler over the introductory video he shared with his students this term. The
    University’s suspension and investigation of Dr. Mehler are clear violations of his First
    Amendment rights, including his academic freedom. The University should be celebrating
    and defending Dr. Mehler, not summarily disciplining him.

    Background

           I am privy to the letter issued to the University by the Foundation for Individual
    Rights in Education (FIRE), which aptly describes the January 9, 2022 video at issue. 1 To be

    1   Dr. Mehler’s video is available at the original private url: https://youtu.be/RrOzY86YcEM.
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       sure, a copy of FIRE’s letter is attached hereto as Exhibit A. A full description of the video
       will not be included here, but relevant portions will be described further below.

               The University’s knee-jerk suspension and investigation of Dr. Mehler fails to
       comprehend the scripted provocation and satire in the video. The unwarranted discipline
       also ignores the circumstances preceding, surrounding, and even following the video.

               For starters, Dr. Mehler has 30 years of distinguished service to the University. He is
       well known for “The Show,” previously entitled “Sympathy for the Devil” and more recently,
       “More Bad News” (both brought to you by Camel Cigarettes). Dr. Mehler’s provocative
       teaching style, including his use of profanity, is well known to the University and cherished
       by its students. The Show has been brought to the University’s attention on multiple
       occasions and has been celebrated beyond just Dr. Mehler’s classroom. I lack the space here
       to summarize Dr. Mehler’s full illustrious career, his successful tenure with the University,
       and the numerous projects he has been involved with. Instead, I will provide recent examples
       that relate to The Show.

               We will start in 2014, when Dr. Mehler applied for a merit based promotion. In his
       essay in support of the promotion (Exhibit B), he explains The Show and his use of The Show
       to stimulate and engage students. He describes telling the students that his grading “is based
       on the Calvinist doctrine of predestination. . . .” (Id. at p. 3). He notes, “The syllabus always
       contains a section which outlines how student work is evaluated. (Id. at p. 4). In a later
       section, Dr. Mehler notes, “when a student complained about the dark, I lightened the room
       a bit, when another complained about the profanity, I avoided it as much as possible.” (Id. at
       p. 5).

              At Dr. Mehler’s request, Prof. Gary Huey wrote a letter in support of the merit
       increase. The letter explains:

              Barry is trying a very different approach to his teaching. His emphasis is on
              provoking thinking in his students. The methods he employs may not be
              everyone’s cup of tea, but I know from talking to student that those who “get
              it,” and most do by the end of the semester, enjoyed the experience and they
              do learn to think.

              The University, for its part, agreed and granted the merit increase for Dr. Mehler.

              Also in 2014, Dr. Mehler brought The Show, profanity and all, the event Passion for
       the Past series sponsored by the University’s Honors Program. See Exhibit C.

              In approximately 2016, the then Dean of the College of Arts, Sciences and Education,
       Dr. Kristi L. Haik, along with her then assistant and interim Dean, Trinidy Williams, sat in on
       Dr. Mehler’s introductory course session. That session included the use of the Deadwood
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       scene as an example of plagiarism, complete with profanity and the line, “no limber-dick
       cocksucker of an administrator is going to tell me how to teach my classes, because I’m a
       fucking tenured professor.”

               Did Dr. Haik take offense? Of course not! Her response was to give Dr. Mehler a hug,
       tell him how wonderful The Show was, and exclaim that she wished she had an instructor
       like him when she was in school.

              In 2017, Dr. Mehler was nominated (not the first time) for a Distinguished Teaching
       Award. Members of the committee responsible for conferring the award individually
       attended a number of Dr. Mehler’s lectures, all of which included The Show for the semester,
       profanity and all. The committee placed Dr. Mehler as a finalist for the award. See Exhibit D.
       The award was ultimately given to Dr. John Scott Gray.

               Contemporaneously, the video was shared with students via a private YouTube url
       (only those with the url could find and view the video). It was provided to the students for
       all three courses he is teaching for this term along with a course-specific video for each class.
       Those course specific videos are available for viewing as follows:

              HIST 122 – History of US 1877 to Present (2 sections)

                   •   https://youtu.be/eZEkLIHmVJE
              HIST 230 – Michigan History (2 sections)

                   •   This video was posted on the class Canvas page and removed by the
                       University. It is presumed that the University still has access to this video and
                       will preserve the same.

              HIST 361 – Genocide and the Modern World (1 section)
                 • https://youtu.be/-78Px136zOo
                 • https://youtu.be/gBhDtzaJEVU

             On the first of the two HIST 361 videos, starting at approximately 4:45, Mr. Mehler
       apologizes “a little bit” for his introductory video, explaining that it is primarily for his HIST
       122 and HIST 230 students. He describes a short history of his use of The Show as a teaching
       method, “but it’s a very difficult method to use when dealing with genocide.” “It’s so
       depressing and so dark, you really can’t make fun of it.”

               Students for his classes were, of course, provided with a syllabus for each, which are
       attached here as Exhibits E-G. Each explains the grading for the class. The grading policies
       for his HIST 230 and HST 361 classes both stress “[c]lass participation: It is impossible to
       pass this course without significant class participation.” (Bolding in original).
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              Following the video, Dr. Mehler was met with packed classrooms full of students
       ready to learn. The students got it! Why can’t the University? Instead Dr. Mehler’s students
       were disserved by the University removing him as their instructor and passing them off on
       adjunct professors who, no matter how capable, were completely unprepared to pick up the
       courses.

               Following the University’s unlawful suspension, Dr. Mehler has been inundated with
       letters of support from current students, former students, and University faculty as well as
       students, educators, and law professors from around the world.

       Analysis

              Our Nation is deeply committed to safeguarding academic freedom, which is
              of transcendent value to all of us and not merely to the teachers concerned.
              That freedom is therefore a special concern of the First Amendment, which
              does not tolerate laws that cast a pall of orthodoxy over the classroom. ‘The
              vigilant protection of constitutional freedoms is nowhere more vital than in
              the community of American schools.’ Shelton v. Tucker, [ ], 364 U.S., at 487, 81
              S.Ct., at 251. The classroom is peculiarly the ‘marketplace of ideas.’ The
              Nation's future depends upon leaders trained through wide exposure to that
              robust exchange of ideas which discovers truth ‘out of a multitude of tongues,
              (rather) than through any kind of authoritative selection.’ United States v.
              Associated Press, D.C., 52 F.Supp. 362, 372.

       Keyishian v. Bd. of Regents of Univ. of State of N. Y., 385 U.S. 589, 603 (1967).

               The University’s actions are a clear violation of Dr. Mehler’s First Amendment Rights
       including his academic freedom. In addition to injunctive relief available to abate violations
       of First Amendment rights, the University’s conduct is actionable under 42 U.S.C. § 1983,
       which provides for the recovery of damages as well as attorney fees pursuant to 42 U.S.C. §
       1988.

              The University’s unlawful actions include placing Dr. Mehler on suspension pending
       investigation, removing his course materials from their respective Canvas pages, and
       removing Dr. Mehler’s faculty page from the University website. It is as if at the first sign of
       controversy, even after 30 years of exemplary service, the University attempted to wash its
       hands of Dr. Mehler. The sum of these actions is to quickly erase Dr. Mehler’s affiliation with
       the University.

             As you well know, public universities such as Ferris State University are subject to
       and constrained by the First Amendment. Healy v. James, 408 U.S. 169, 180 (1972). A public
       university’s discipline of its faculty is government action that cannot run afoul of First
       Amendment protections. Papish v. Board of Curators of the University of Missouri, 410 U.S.
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       667, 670 (1973). “Healy makes clear that the mere dissemination of ideas – no matter how
       offensive to good taste – on a state university campus may not be shut off in the name of
       ‘conventions of decency.’”

               There can be no contention that Dr. Mehler’s words, from “fuck” to “cocksucker,” are
       legally obscene or unprotected speech. See, e.g., Mahanoy Area School Strict v. B.L. by and
       through Levy, --- U.S. ---, 141 S. Ct. 2038, 2043-44 (2001) (“Fuck school fuck softball fuck
       cheer fuck everything” not obscene). Our Sixth Circuit has confirmed that even profanities
       that are racist or homophobic are protected when germane to the topic at hand. Hardy v.
       Jefferson Community College, 260 F.3d 671, 679-80 (6th Cir. 2001).

              Dr. Mehler’s provocative and attention grabbing presentations on plagiarism, grading
       (and predestination), and his class attendance policy in the COVID era are all relevant to
       introducing his classes and are otherwise within the broad concept of “public concern.”
       Hardy, 260 F.3d at 679 (citations omitted).

              Like the defendant in Hardy, the University will be unable to argue that Mehler’s First
       Amendment rights are somehow outweighed by its “interest in promoting efficiency in the
       educational services that it provides and in avoiding disruptions to its operations.” 260 F.3d
       at 680. Such claims are recognized to be a weak justification for curtailing speech and are
       rejected as often as they are raised. Id. at 680-82 (collecting cases).

              Any argument that Dr. Mehler’s techniques interfered with the educational process
       will break upon the bulkhead of decades of evidence to the contrary, as briefly summarized
       above. Such evidence continues to the near present when his students showed up to class
       ready to be challenged by the next episode of The Show.

               Finally, I feel it is incumbent upon me to disabuse the University of a misconception
       it appears to be operating under. Section 4.1(B) of the University-FFA Agreement excludes
       “suspensions pending investigation” from the definition of “disciplinary action” therein. If
       Dr. Mehler is compelled to take legal action, he will be seeking redress under the First
       Amendment and 42 U.S.C. § 1983, neither of which is narrowed or bound by any definitions
       stated in the Agreement. Fundamental constitutional rights are not so easily side-stepped.

       Preservation of Evidence

               I demand that the University and the individuals involved in the decisions to place Dr.
       Mehler on suspension pending investigation, to remove his Canvas pages, and to remove his
       faculty page, preserve all evidence relating to the actions taken, in whatever form, regardless
       of whether that evidence is in the custody of the University or the person. The violation of
       Dr. Mehler’s clearly established First Amendment rights raises the possibility of individual
       liability of the persons involved. See Hardy, supra.
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             The University has already potentially destroyed and failed to preserve relevant
       evidence by removing the Canvases pages and Dr. Mehler’s faculty page on the University
       website. It is my hope that the University took appropriate measures to preserve and
       maintain those resources before removing public access to them.

       Conclusion

              Time is short due to no fault of Dr. Mehler. Each moment that passes is continued and
       irreparable harm to his First Amendment rights. In the event that the University does not
       agree to Dr. Mehler’s demands, I will be required to swiftly undertake significant effort to
       secure those rights.

              Therefore, Dr. Mehler hereby demands that you immediately confirm that his
       suspension is lifted and that he may return to his teaching duties for all five of his classes this
       term. It is further demanded that you restore Dr. Mehler’s Canvas pages for each of his
       classes and restore his faculty page to the University website.

             Unless you confirm to me by 1 p.m. on Wednesday January 19, 2022 that these
       demands have been met, I will take necessary legal action to expeditiously restore Dr.
       Mehler’s First Amendment rights.


                                                    Sincerely,

                                                    SHAFER & ASSOCIATES, P.C.




                                                    By:     Matthew J. Hoffer

       Enclosures

       Cc:    Charles R Bacon (email only) CharlesBacon@Ferris.edu
              Miles J. Postema (email only) PostemaM@Ferris.edu
              Stephanie R. Setterington (email only) SRSetterington@VarnumLaw.com
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January 17, 2022

David L. Eisler
Ferris State University
Office of the President
1201 S. State Street
Timme Center, CSS 301
Big Rapids, Michigan 49307

                                          URGENT

Sent via U.S. Mail and Electronic Mail (President@ferris.edu)

Dear President Eisler:

The Foundation for Individual Rights in Education (FIRE) is a nonpartisan, nonprofit
organization dedicated to defending liberty, freedom of speech, due process, academic
freedom, legal equality, and freedom of conscience on America’s college campuses.

FIRE is concerned by Ferris State University’s decision to place Professor Barry Mehler on
administrative leave and investigate him for the introductory video he recorded for students
in his five history classes.

Mehler’s colorful, dynamic, clearly tongue-in-cheek syllabus day routine is protected by the
First Amendment, which grants faculty members at public universities such as Ferris State
broad discretion to deliver course content as they see fit without administrative interference.
Thanks to the First Amendment and principles of academic freedom, faculty members are not
constrained to deliver dry and monotone lectures like the economics teacher in Ferris
Bueller’s Day Off, even at the movie’s namesake university. Rather, they have the freedom to
experiment with and use pedagogical techniques that both instruct and engage their students.

We call on Ferris State to immediately restore Mehler to the classroom, cease its investigation
of his protected expression, and affirm the First Amendment rights of its faculty.

I.     Professor Mehler Posts Introductory Video for His Courses, Notes He Is
       ‘Beholden to No Human Cocksucker’

The following is our understanding of the pertinent facts. We appreciate that you may have
additional information to offer and invite you to share it with us. To these ends, please find
enclosed an executed privacy waiver authorizing you to share information about this matter.




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                                                                                                               2



On January 9, 2022, Mehler uploaded an introductory video for students in the five classes he
was slated to teach in the spring semester.1 Mehler turned the 15-minute video into a
performance, peppering it with jokes, characters, hyperbole, a commercial break, video clips,
and cultural references. For instance, the video begins with Mehler appearing in a space
helmet, pretending to have just arrived on Earth from another planet. Referencing Star Trek,
Mehler says, “I just got in from Rigel VII, and the intergalactic internet is all abuzz about this
planet.” He tells students there is a “deadly virus” and “your civilization is collapsing and life
on your planet is going extinct,” before wryly adding, “Anyway, welcome to the new season of
my show.”

Later in the video, Mehler delivers a short profanity-laced soliloquy adapted from the popular
television western Deadwood for the purpose of discussing plagiarism. He substitutes a vulgar
Deadwood character’s rant about the government and other characters with an equally
colorful rant about administrators and students. Right after finishing the monologue, Mehler
explains its origin and shows the relevant clip from Deadwood, noting that if he had not put it
to students’ attention, it would have been plagiarism. He emphasizes the importance of
properly citing sources, as “it’s one of the most common reasons that students end up with a B
on a term paper instead of an A.”

Mehler then turns to his grading system, which he jokingly explains is based on the Calvinist
doctrine of predestination, saying “if it was good enough for Calvin, it’s good enough for me.”
Mehler adds, “None of you cocksuckers are good enough to earn an A in my class. So I
randomly assign grades before the first day of class. I don’t want to know shit about you, I
don’t even want to know your name. I just look at the number and I assign a grade.”

Finally, Mehler addresses his attendance policy, telling students “classes are all designed to
be taught remotely and everything you need to earn an A is available to you on our canvas
page.” Noting he is nearly 75 years old, Mehler says, “If you won’t expose your grandpa to a
possible infection with COVID then stay the fuck away from me. If you don’t give a shit about
whether grandpa lives or dies, by all means, come to class.” He then adds, in a comment
dripping with sarcasm, “I will not take questions in class because I’m wearing this fucking
helmet in order to stay alive,” and concludes by telling students they have the option to come
to class to “enjoy the show.”

On January 11, Ferris State placed Mehler on administrative leave pending an investigation
into allegations that Mehler’s video violated the university’s “Employee and Student Dignity”
policy.2 In response to Ferris State’s disciplinary action and the widespread attention the
video received online, Mehler offered an explanation:3




1
  Barry Mehler, Week I Gen Intro 010922, YOUTUBE (Jan. 9, 2022),
https://www.youtube.com/watch?v=RrOzY86YcEM. The courses are American History from 1877 to
Present, Michigan History, and Genocide in the Modern World.
2
  Letter from Randy Cagle, Dean, Coll. of Arts, Scis. and Educ., Ferris State Univ., to Barry Mehler, Prof.,
Ferris State Univ., Jan. 11, 2022 (on file with author).
3
  PredestinationProf, REDDIT (Jan. 13, 2022),
https://old.reddit.com/r/IAmA/comments/s37fnz/i_am_a_history_prof/hsizeqk/?context=3.




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                                                                                               3



                 On Tuesday morning I found that most of the students in my class
                 showed up despite the video in which I said, among other things
                 that they should think of me as their grandpa and if they wouldn’t
                 want to expose grandpa to COVID, they should pay me the same
                 respect, “but if you don’t give a shit whether grandpa lives or dies,
                 by all means, come to class.” They all came. (except the dozen who
                 are down with COVID). I laughed and said, so I see none of you
                 really gives a shit about grandpa, well welcome to my show.
                 Obviously, they understood that the video was scripted and the
                 soliloquies they contained were like the soliloquies one sees in a
                 theatre or movie production. The person on stage might be
                 screaming obscenities at you but you know it is a performance. It
                 is also the way I have been teaching for over a decade. I was granted
                 a Merit Promotion in 2014 based on my teaching method. I was
                 nominated for a Distinguished Teaching Award and was a finalist
                 in the competition.

Mehler said he has been using this teaching method for around twenty years.

II.     The First Amendment Bars Ferris State from Punishing or Investigating Mehler
        for the Speech at Issue

Under principles of academic freedom protected by the First Amendment, Mehler has broad
discretion to use his knowledge and experience as an educator to deliver course content in the
manner he deems most effective. Such speech does not lose First Amendment protection
because it is profane or because others find it offensive. While Mehler’s unusual teaching
style might not be to everyone’s tastes, his dramatic “performance” in the video and joking
manner of discussing class policies clearly did not amount to harassment or any other
unprotected speech, but was simply an attempt to introduce his students to his courses and
his colorful personality in a humorous, irreverent way that students might find engaging and
memorable.

It has long been settled law that the First Amendment is binding on public universities like
Ferris State.4 Accordingly, the decisions and actions of a public university—including the
pursuit of disciplinary sanctions5—must be consistent with the First Amendment.

Academic freedom is of “special concern to the First Amendment.”6 The Supreme Court of the
United States has recognized that the “vigilant protection of constitutional freedoms is
nowhere more vital” than in institutions of higher education, as the “classroom is peculiarly
the ‘marketplace of ideas[.]’”7 In the classroom context, a professor’s lectures, materials, or




4
  Healy v. James, 408 U.S. 169, 180 (1972).
5
  Papish v. Bd. of Curators of the Univ. of Mo., 410 U.S. 667, 667–68 (1973).
6
  Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967).
7
  Id. (quoting, in part, Shelton v. Tucker, 364 U.S. 479, 487 (1960)).




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remarks, “however repugnant” to students or others, are “protected by the First Amendment”
when they are “germane to the classroom subject matter.”8

Here, Mehler was simply offering a short introduction to his courses, and he undoubtedly has
wide discretion to do so in the manner of his choosing. He decided to take what might
normally be a dull, tedious review of class rules and policies and instead convey that
information through a dramatic performance or “show” that would entertain and amuse his
students—a routine he apparently has performed for years without incident. No reasonable
person could watch Mehler’s full video and come away thinking he was actually insulting or
harassing his students, or that comments he made about grading and the attendance policy
were meant to be taken seriously.

Mehler’s comments about grading his students according to the Calvinist doctrine of
predestination were obviously tongue-in-cheek and satirical, poking fun at the doctrine. At
two other points in the same video, Mehler spoke about how students could earn an A,
rendering frivolous any argument that he was serious about assigning students grades
randomly. Mehler’s Deadwood-inspired soliloquy had the clear pedagogical purpose of
warning students in an entertaining way about plagiarism and proper citation. And no less
protected were Mehler’s comments at the end of the video about COVID-19 and attendance.
Mehler’s tone and presentation throughout the entire video—right from the beginning when
he took a space helmet off of his head and pretended he was arriving from another planet—
made it obvious that he was performing and playing characters, not sincerely berating his
students, telling them they would all fail, or prohibiting them from coming to class. And
apparently students took Mehler’s video the way it was intended, as his first in-person classes
were full of students.

Mehler’s use of profanity does not cause his speech to lose First Amendment protection.9 He
did not use profanity in an abusive manner. Again, the context of the video makes clear that
Mehler was not using profane language to actually insult his students or others, but rather as
part of a lighthearted performance to boost the entertainment value of a syllabus day lecture
that might otherwise put students to sleep. To be sure, some may find Mehler’s style offensive
or obnoxious, but that is not enough to render his speech unprotected. A diverse faculty body
is bound to result in diverse teaching styles, and no instructor has an obligation to conform to
a prim and proper method of teaching.

III.    Conclusion

Professor Mehler has the freedom to stand in his classroom beholden to no human censor. His
pedagogical choices, however eccentric, are protected by the First Amendment and provide



8
 Hardy v. Jefferson Cmty. Coll., 260 F.3d 671, 683 (6th Cir. 2001).
9
 See Snyder v. Phelps, 562 U.S. 443, 448, 461 (2011) (First Amendment protected protesters holding insulting
signs outside of soldiers’ funerals, including signs that said “God hates fags”); Cohen v. California, 403 U.S. 15,
25 (1971) (First Amendment precluded punishment for wearing a jacket emblazoned with the words “Fuck
the Draft”); Hardy, 260 F.3d at 675, 679, 683 (6th Cir. 2001) (First Amendment protected instructor’s use of
words “lady” “girl,” “faggot,” “nigger,” and “bitch” in course on “language and social constructivism,” as they
were relevant to the instructor’s lecture).




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no justification for administrative intervention. Any contrary conclusion can be reached only
by willfully ignoring the full content and context of his lecture.

Given the urgent nature of this matter, we request receipt of a response to this letter no later
than the close of business on Friday, January 21, 2022, confirming that Ferris State will
immediately cease its investigation of Mehler and return him to the classroom.

Sincerely,



Aaron Terr
Program Officer, Individual Rights Defense Program and Public Records

Encl.




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                         Authorization and Waiver for Release of Personal Information


                 I, Barry A. Mehler                                                   , do hereby authorize
                  Ferris State University                                       (the “Institution”) to release
                 to the Foundation for Individual Rights in Education (“FIRE”) any and all
                 information concerning my employment, status, or relationship with the Institution.
                 This authorization and waiver extends to the release of any personnel files,
                 investigative records, disciplinary history, or other records that would otherwise be
                 protected by privacy rights of any source, including those arising from contract,
                 statute, or regulation. I also authorize the Institution to engage FIRE and its staff
                 members in a full discussion of all information pertaining to my employment and
                 performance, and, in so doing, to disclose to FIRE all relevant information and
                 documentation.

                 This authorization and waiver does not extend to or authorize the release of any
                 information or records to any entity or person other than the Foundation for Individual
                 Rights in Education, and I understand that I may withdraw this authorization in writing
                 at any time. I further understand that my execution of this waiver and release does not,
                 on its own or in connection with any other communications or activity, serve to
                 establish an attorney-client relationship with FIRE.

                 If the Institution is located in the State of California, I request access to and a copy of
                 all documents defined as my “personnel records” under Cal. Ed. Code § 87031 or Cal.
                 Lab. Code § 1198.5, including without limitation: (1) a complete copy of any files kept
                 in my name in any and all Institution or District offices; (2) any emails, notes,
                 memoranda, video, audio, or other material maintained by any school employee in
                 which I am personally identifiable; and (3) any and all phone, medical or other records
                 in which I am personally identifiable.

                 This authorization and waiver does not extend to or authorize the release of any
                 information or records to any entity or person other than the Foundation for Individual
                 Rights in Education, and I understand that I may withdraw this authorization in writing
                 at any time. I further understand that my execution of this waiver and release does not,
                 on its own or in connection with any other communications or activity, serve to
                 establish an attorney-client relationship with FIRE.

                 I also hereby consent that FIRE may disclose information obtained as a result of this
                 authorization and waiver, but only the information that I authorize.



                                                                              1/15/2022
                Signature                                                      Date



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    Barry Mehler, “Thinking History vs Teaching History,” Candidates Statement
    for Merit (Big Rapids, December 1, 2014).

    Teaching Philosophy: Thinking History vs Teaching History
    Thinking the Twentieth Century (NY 2012) is an attempt by the renowned historian
    and public intellectual, Tony Judt (1948-2010), to “think” history. The book is a
    series of conversations the author had with Timothy Snyder, following an Eastern
    European intellectual tradition of presenting history in the form of extended
    conversations, which are personal encounters with history. Thinking history is not
    an attempt to present history, “as it actually happened.” It is rather an individual
    encounter with the past. Walter Benjamin captured this notion in his “Thesis on the
    Philosophy of History,” writing, that “the past can be seized only as an image which
    flashes up at the instant when it can be recognized.” Thinking is something that is
    done at a particular moment in time by a particular individual. 1

    Thinking history is not the same as learning or teaching history. Learning is about
    the acquisition of information. Most of what a student does is in the category of
    “learning.” Thinking, on the other hand, takes place only in the presence of a
    question that has no ready answer. While my courses involve a good deal of
    traditional learning, the real focus of my pedagogy is to stimulate thinking about
    unanswered questions.

    You can’t think history if you understand it. Take the causes of the Civil War, for
    example. Teaching the causes of the Civil War implies that the causes are well
    understood and the teacher simply has to explain them. The student studies the list
    and demonstrates on a test or essay that he or she has mastered the material. No
    thinking is involved. The teacher remembers the causes and the students learn
    them. In thinking the causes of the Civil War, neither the students or the teacher
    know the causes of the Civil War. This is not to say that the teacher doesn’t know the
    textbook list of causes, but beneath all the explanations there is still a mystery. After
    all, slavery existed everywhere in the Americas and ended everywhere in the
    Americas. This transformation from slave to free labor resulted in only one Civil
    War. In this light, the traditional causes for the Civil War prove less than
    satisfactory. In other words, the second approach involves “thinking through” the
    history while maintaining a certain level of doubt because large historical
    phenomena can never be completely understood. Thinking history involves finding
    a perspective that brings the standard explanations into question. Thus, to think
    through the causes of the Civil War is to take a fresh look at what are seen
    traditionally as the causes of the war. The focus of my approach is to introduce
    students to an individual confrontation with history and to do that I have developed
    a pedagogy focused on thinking history.



    1(Walter Benjamin, “Thesis on the Philosophy of History, “ quoted from Illuminations: Essays and
    Reflections, edited by Hannah Arendt (New York: Schocken 1969) p. 255.




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    Pedagogy
    My courses are all designed as a TV variety show entitled, “Sympathy for the Devil.”
    The idea is to present the course material in an unusual way which takes the
    students out of the normal classroom environment and transports them onto the set
    of a TV show, where the rules of the game are all new and strange. Many students
    have reported in their initial journals, a collective experience of bewilderment, often
    expressed as, “Am I in the right room? This can’t be a history class?”
    With the shades down and the lights all out, the show begins with the Rolling Stones
    singing the show's theme song, “Sympathy for the Devil.”
    Please allow me to introduce myself
    I'm a man of wealth and taste
    I've been around for a long, long year
    Stole many a man's soul and face
    I rode a tank
    With a general's rank
    When the blitzkrieg raged
    And the bodies stank
    Pleased to meet you
    Hope you guess my name
    But what's puzzling you
    Is the nature of my game
    The song recounts the atrocities committed throughout history by Lucifer, who
    wears many human faces. Lucifer, however, is not a single entity, in fact, “every cop
    is a criminal/ and all the sinners saints.” In other words, “As heads is tails” Lucifer is
    simply the other side of every coin. “But what’s puzzling you is the nature of my
    game.” The unanswered question, which is the theme of the show, centers around
    the nature of the devils game. Why do good intentions so often pave the road to hell?
    How do we explain the workings of evil in history? At the show, our sympathy is
    with the devil, we prefer dark to light. 2 The problem, of course, is figuring out which
    side is which, after all, every cop is a criminal and all the sinners saints. Thus, the
    theme song, presents us with our first enigma, the first of our unanswered
    questions, that remain unanswered through the course of the season’s shows. I
    should point out that I often juxtapose theological modes of thinking with rationalist
    and scientific modes of thought. Everything about the show is a metaphor.
    Theological modes of thinking are just a metaphorical way of understanding
    something. I do not mean to imply that there is a malevolent supernatural force in
    the universe.
    After the theme song, I introduce our sponsor, Camels cigarettes. Holding an archaic
    pack of unfiltered Camels, I launch into a long soliloquy urging my students to “take


    2 The florescant lighting can cause migraines, but I never use that as an explanation. I find the low
    lighting creates a characteristic ambiance. It also eliminates the use of smartphones which glow
    conspicuously in the dark.




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    the Camels challenge, smoke Camels for thirty days and see for yourself what a
    difference this fine American product can do for you.” I explain that when I was
    student everyone knew that smoking was good for you. I play a few clips from old
    Camels commercials, asserting that “more doctors smoke Camels than any other
    cigarette.” I explain that it was commonly believed that smoking aided digestion
    after a good meal; helped to focus ones attention; improved athletic performance,
    and increased sexual pleasure. Now, of course, everyone knows that smoking is bad
    for you but everything we ever knew with absolute certainty, we now know was
    completely wrong. We knew with absolute certainty that the earth was the center of
    the universe, that the sun went around the earth, that the Milky Way galaxy was the
    entire universe, that matter and energy were separate things… all these certainties
    have been proven wrong. Doesn’t that suggest that everything we now know with
    certainty may also be wrong?

    At this point in the journey, my students realize they are in a history class, but it’s
    not like any class they have ever taken before. I have created an environment where
    they are wondering what is going on and they don’t have an answer! I have them
    thinking, and I continue taking them down a seductively logical Alice in Wonderland
    interpretation of history. I argue that when everyone knew that smoking was good
    and when more doctors smoked Camels than any other cigarette, the United States
    was the wealthiest nation on earth, Michigan was the engine of capitalism and the
    arsenal of democracy. I point out that our sponsor is not just the sponsor of our
    show, tobacco is the sponsor of our nation. Without tobacco, the colonies would
    never have established themselves as viable economic enterprises. The United
    States as we know it, would not exist without this iconic product. Is it any wonder
    then that we have fallen so low after turning our backs on the product that made us
    great. Furthermore, today, India and China, two countries notorious for their
    smoking habits have economies that are smoking and societies that are moving
    towards global domination. My final plea to my students, “if not for yourself, do it for
    your country, do it for Michigan - take the Camels challenge and see what this great
    American product can do for America and for Michigan. Remember, when we were a
    nation of smokers, we were the greatest nation on earth! And I believe we can be
    great again, if only we will embrace the things that made us great in the first place.”
    In other words, the lesson I’m drawing from this history is absurd. They know there
    is something wrong with the whole logic of the class. Classes shouldn’t have
    commercials, what is going on? Their initial journals testify to their bewilderment,
    but also to their excitement.
    Predestination
    The very next topic in my opening lecture is an explanation of the grading system,
    which I tell them is based on the Calvinist doctrine of predestination. As with the
    cigarette commericals, the concept of predestination will be repeatedly brought to
    their attention. According the the Calvinist doctrine of predestination, salvation is
    entirely a matter of God’s grace and has absolutely nothing to do with a persons
    works. I tell them that before they ever set foot in the class, their final grades were
    assigned and that nothing they do during the semester can change their predestined



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    grade. It makes no sense and that is the point. The syllabus always contains a section
    which outlines how student work is evaluated. They might, for example, have a
    midterm and a final exam worth together 250 points and two writing assignments
    worth another 250 points. Some students immediately understand that their grade
    depends on their performance, and my bizarre explanation of the grading system,
    like everything else thus far, is not meant to be taken literally. Thus, some students
    understand the reality, but wonder at the meaning of the performance, while other
    students wonder if I’m serious. This is an ambiguity they will have to work out for
    themselves. Either way, I have gotten them thinking.

    As the semester develops, I repeatedly return to the concept of predestination.
    Buried beneath the notion of predestination is another challenge to our endeavor,
    for if our fate is predetermined, what use is history? Oedipus knows his fate, he has
    learned the lesson of history and he does everything he can to avoid his destiny. So
    what value was the knowledge in the first place? These are questions that may
    never occur to my students, but it is essential that the presentation be multi-layered
    and have enough depth for a graduate students while at the same time be
    entertaining and simple enough for the novice.

    I explain to the students that the Calvinist doctrine of predestination has played an
    important role in American history. I challenge them to write an extra credit paper
    explaining the concept and how it has impacted the development of American
    institutions. Many students at some point in the semester will comment on the
    concept. Repetition of the question is the key to keeping them thinking about it.
    My classes are basically composed of puzzle pieces, some of which are repeated
    throughout the semester. It is quite common for a student to write after six or eight
    weeks, that they now understand one of the puzzle pieces. For example, many
    students report in their journal, sometimes in the tenth or eleventh week of the
    semester, that they finally realized, I’m not actually trying to get them to smoke.
    Each student comes to a confrontation with the past individually and repeating
    messages allows them to process the message at their own speed. History is an
    individual confrontation with the past and has no meaning outside the individual
    who encounters it.

    I should mention, one final staple of the show - the guest interview. The Show
    doesn't have much of a budget, so we make ourselves our own guests. Several times
    each semester, in each class, we have a special guest. Recently in my Michigan
    history class we interviewed Kevin Orr, the Detroit City manager. Of course, we
    didn’t have the real Kevin Orr, ours was a student from the Detroit area. Instead of
    having a student do a presentation, the student is a guest on the show, and is
    interviewed by the host (myself). The host invites audience participation. The Kevin
    Orr interview generated a lot of discussion, most of it, sympathetic to the city
    manager. My students were untroubled by the loss of fundamental constitutional
    rights. I don’t try to win them over to my view of anything, but I do present a
    counter argument to whatever they argue. So my remarks were all critical of the City
    Manager. Had the audience been critical, I would have taken the opposite position



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    and defended the Governor. For me, it was a great class; an animated discussion in a
    darkened room with plenty of sympathy for the devil.

    Goals and Outcomes
    My primary goal is to get my students thinking. How can I know if I am achieving
    this objective? The single most important analytic tool I have is my students weekly
    journals which I read very carefully. I choose journals to post, or questions from
    journals. I respond directly to student journals through emails and I encourage my
    students to complain, by praising complaints and responding to them. I make a
    point of modifying the class in response to complaints. For example, when one
    student complained about the dark, I lightened the room a bit, when another
    complained about the profanity, I avoided it as much as possible. When students ask
    for more text review, I give them more text review.

    More importantly, I use the journals every class to introduce student ideas,
    questions and suggestions. Students seem to enjoy the ability to contribute to the
    class and I make a point of using materials that students contribute. Over the years
    students have contributed many elements of the show, including lots of very funny
    videos and I always let the class know which elements were contributions by
    students in the past. I want them to understand that the show depends on them and
    any contribution they make may become a fixture of future shows. I try to give them
    a sense of a stake in the process.

    Evaluating Outomes
    I gauge my effectiveness by the materials my students give me. Student performance
    on the exams is important, but so too is their response to the exams. I always take
    time after each exam for students to discuss their grade and their answers to the
    questions. This is especially true for the simple multiple choice exams. I’m not so
    much concerned that a student chose the right answer as I am that they know the
    material and can offer a reason for the choice they made. I go out of my way to give
    students a few extra points after an exam as a way of encouraging them to argue for
    a higher grade. The argument is far more important than the answer.

    In all my classes, I am reading student journals every week. In my upper level
    classes I am reading their essays, and even in the 100 level classes my students
    always have the possibility to write an essay for extra credit.
    Evolution and future directions
    This past semester, I had a student comment that when she studied Hitler in high
    school, the teacher listed all the reasons why Hitler was evil. She was intrigued by
    my approach which was to explain why people loved and admired Hitler. I gave a
    lecture on the Nazi campaign against cigarette smoking, a campaign that came thirty
    years before the Surgeon General’s Report on the dangers of smoking in 1964. This
    was the subject of a paper written by Glen Succaw, a History BA major who
    graduated in May 2013. The assignment was to write a paper that presented the
    Nazis in a positive light. In my Terrorism class, students were required to write a



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    paper nominating Osama bin Laden for a posthumous Nobel Peace Prize. I pointed
    out to the students that many terrorists had won such prizes, including Yasir Arafat
    and Menachem Begin. The most famous American terrorist, John Brown is the
    subject of a lauditory childrens biography. This approach to history was described
    by Walter Benjamin as “brush[ing] history against the grain.” 3

    When I began to develop this pedagogy there was a considerable amount of
    confusion and anger. Many students, lacking the ability to understand irony, didn’t
    understand why I was promoting something as unhealthy as cigarette smoking or
    asking them to think about Hitler differently than they had been taught. Today,
    despite the fact that the students are just as naïve and confused, for the most part,
    everyone understands that the class is a “show,” that I am the “host,” and that the
    things I do are similar to the things they see on television, including the
    commericials. They may be confused, but somehow, I have improved the delivery.
    I’ve essentially tweeked the presentation in a way that convinces them early on that
    the class is going to be fun and that while I’m confusing them, I’m not antagonizing
    them. I’m not completely sure how I have achieved this, but it has something to do
    with paying very close attention to their journals, which gives my students a sense
    that I am interested in their opinions. I often email students about their journal and
    this can be the beginning of a conversation carried on through the semester. If the
    journal is not personal, I post it on Blackboard and bring it up in class. I ask the
    student to tell us what they said and I use it to begin a discussion. In this way, I have
    been able to convince students that I am paying attention to their journals and I
    always post some journals that complain about some aspect of the class. I make a
    point of praising the student for complaining and then I address the complaint, often
    modifying the class. If a student complains about the room being too dark, I turn a
    little more light on. It doesn’t substanially change the ombiance and it gives the
    students a sense that the class belongs to them and I am here for them.

    In the beginning the show was sponsored by Camels cigarettes and Jack Daniels
    Whiskey. The initial idea was to use the two products that were the economic
    foundation of the colonies, tobacco in the South and alcohol production in the North.
    However, after a few years I dropped Jack Daniels as a sponsor. The show today is
    sponsored only by Camels. This simplifies the focus, but is also avoids the use of a
    product which the students are abusing. My students loved the Jack Daniels
    commericials but their journals revealed widespread alcohol abuse and I found it
    unconscionable to continue the Jack Daniels sponsorship.
    I have modified many aspects of the Show since my last attempt to evaluate my
    pedagogy in 2010 and I have become much more comfortable with my role as “host”
    rather than “teacher.” The job of a host is to make the guests feel at home. I’m still
    teaching, but I’m no longer trying to mold their opinions.

    As for the future, I’m sure my pedagogy will continue to evolve. For the present, my

    3Walter Benjamin, “Theses on the Philosophy of History,” in Illuminations: Essays
    and Reflections, edited by Hannah Arendt(New York: Schocken, 1968) p. 257.



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    immediate goal is to write an essay on my approach for publication in a journal of
    education.

    Scholarship
    Between the years 2000 to 2014, I have published 15 articles and reviews which are
    listed in bold in my CV. I served as an outside peer reviewer for the University of
    Illinois Press, the University of Massachusetts Press, the Journal Theory in
    Biosciences and the Journal, History of Intellectual Culture. I also wrote eleven book
    reviews in that period, including six reviews for History: Reviews of New Books
    (Westview Press, Boulder Co). I also reviewed for the Journal of the History of
    Biology, the Journal of American History and History and Philosophy of the Life
    Sciences.
    For 2009 to 2014, Google Scholar identifies 113 citations of my work, including 36
    citations of my 1988 dissertation, an indication of the continued relevance of that work. The
    most recent citation identified by Google Scholar was to Stefan Kuhl’s new book, For the
    Betterment of the Race: The Rise and Fall of the International Eugenics Movement
    (2013). Kuhl’s first book, The Nazi Connection (Oxford 1994) also cited my work. In
    fact, Stefan was twice a guest in my home while he was working on his book which
    was partially based on ISAR archival materials. I would also like to mention
    Marianne Blacken’s novel, Bastionerna (2005), a Finnish novel, in which I am
    fictionalized. One of the plots of the book involves Barry Mehler, the Director of the
    Institute for Academic Racism who is involved in exposing a racist professor. 4

    In 2000, Charles Allen, Jr., a crusading journalist who was the first to write about
    Nazi war criminals in the U.S., succumbed to early onset Alzheimers. At the time, no
    one was interested in Allen’s work and many of his manuscripts remained
    unpublished. As one of Allen’s closest friends, I was asked to take charge of his
    papers and books. I dropped everything and spent a week in New York packing up
    the contents of Allen’s apartment including over 65 boxes of research notes,
    publications, FOIA searches and unpublished manuscriptes. Fourteen years later,
    Eric Lichtblau has published the first book on Nazi war criminals in the U.S. which
    credits Allen's work. 5 Last week, AP journalist, Randy Herschaft, contacted me to say
    that the he is keenly interested in seeing those manuscripts. We very well might see
    some of Allen’s manuscripts posthumously published.

    I have been awarded eight grants totalling more than $25,000 between 2000 and
    2014. Between 20I0 and 2012, I was awarded three $5,000 grants to participate in a

    4 Kuhl, Stefan, For the Betterment of the Race: The Rise and Fall of the International Eugenics

    Movement (New York: Palgrave, 2013); Kuhl, The Nazi Connection Eugenics, American Racism, and
    German National Socialism (New York: Oxford University Press, 1994) and Marianne Blacken,
    Bastionerna (Pieksamaki, Finland: Schildts Förlags, 2005).
    5 Eric Lichtblau, The Nazis Next Door: How America Became a Safe Haven for Hitler’s Men (Boston and

    New York: Houghton Mifflin Harcourt, 2014). For a discussion of Charles Allen’s role, see,
    http://www.democracynow.org/2014/10/31/the_nazis_next_door_eric_lichtblau.




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    federal program aimed at improving history education in public schools. I also
    received two major awards from the Diversity office, one in 2010 and one in 2013,
    both grants were used to organize major campus events. Finally, I was awarded
    nearly $3,000 from the Timme Travel Fund and the Department of Humanities for
    my trip to Israel in 2012.

    In this same period, I have organized or presented in seventeen programs, inlcuding
    a seminar at the Hebrew University, two Humanities Colloquium Series
    presentations as well as presentations at the Old Jail, the History Center in Traverse
    City and several appearances on Ferris television. I have also taken six research
    trips, including three to New York and one to Nortre Dame in Indiana to attend a
    seminar led by the French philosopher, Emmanuel Faye on Martin Heidegger.

    Service
    Most of my service work as been related to advancing the prominence and
    importance of history locally and statewide. I joined the Big Rapids Historical
    Preservation Commission (BRHPC, Bryan Ridenour, Chair) in the Fall 2010. The
    BRHPC manages two historic properties in Big Rapids, the Old Jail (1893, 220 S.
    Stewart) and the Bergelin House (1873, SW corner of Elm St. and Winter Ave.). The
    Bergelin House serves as a museum displaying furniture manufactured in Big
    Rapids. As an active member of the BRHPC, I attend monthly meetings as well as
    help with fund raising and program planning. I arranged for the Phi Alpha Theta
    History Honors Society to have their inductions at the Old Jail while arranging for
    books left over from the semi-annual Old Jail yardsale transferred to Phi Alpha
    Theta for their annual book sale on the quad, thus encouraging our students to
    involve themselves in historic preservation. In April 2012, I ran a program, “Historic
    Preservation in the Holy Land,” at the Old Jail, discussing the similarities and
    differences between historic preservation here and there. In July 2012, I brought
    history to our local health food store, All About Health (207 S. Michigan Ave.) with a
    presentation on the history of Jewish Dietary Law and the meaning of the symbols
    commonly found on health food containers and wrappers.

    From 2002 to 2006, I served on the Advisory Board for Immediate Family, an
    organization that provided emergency shelter for battered or abused individuals in
    non-traditional relationships. Between 2003 and 2004, I serviced on the Ferris
    Faculty Associations Executieve Board. From 2005 to 2010, I served on the FSU
    Historical Taskforce Committee which organized our 125th Anniversary
    celebrations. During the same period, I served on the Humanities Department
    Tenure Review Committee, as chair from 2008-2010. During this period I also
    served as advisor for our History Minors. In 2005, I helped organized and prepare
    the first Academic Program Review for the History B.A.

    Since 2010, I have participated in the Humanities Department transition from
    Department Head to Department Chair, attending all of the planning sessions and
    joining the Conflict Resolutions Committee, chaired by Susan Morris. While Dr.



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    Tracy Busch is the official faculty advisor for our History Honors Society, Phi Alpha
    Theta, I attend the meetings regularly and have helped with the book sales and
    conference planning. I have actively participated in our area’s recruitment efforts
    and have been instrumental in drawing several students to the History program and
    I also am a regular at the Spring Commencement exercises.

    In March 2011, I worked with a local businessman, Charles Hunsinger, to organize a
    symposium held in the Rankin Student Center Centennial Room on, “Defining the
    Essence and Purpose of Human Life.” I have been a Judge for the Michigan History
    Day competition for the past decade. This competition brings elementary, Middle
    School and High School students together in an all day competition in which
    students demonstrate their understanding of a historical topic such as “Revolutions
    and Historical Change” or “Turning Points in History” using documentary film,
    display boards, acting and traditional academic papers. My comittment to the
    Michigan History Day State Finals is part of an ongoing service to encourage young
    people to careers that involve historical analysis. In 2011, The History Program’s
    second Academic Program Review took place and I was responsible for Section I of
    the program review process. Other authors of the final report included, Kimn
    Carlton-Smith, Gary Huey and Jana Pisani.

    I have done a number of campus wide programs through the Diversity Office and I
    received two grants, one in 2010 and one in 2014, the first to bring Leonard
    Zeskind, author of Blood and Politics (2010) and Aviva Cantor, author of Jewish
    Women, Jewish Men (1995) and I have worked with the Political Engagement Project
    (PEP) from 2007 to 2009 and I will be working with PEP again next semester to
    bring JoEllen Vinyard, author of Right in Michigan’s Grassroots: From the KKK to the
    Michigan Militia (Ann Arbor: University of Michigan Press, 2011).




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                                       HIST 122
                                   Dr. Barry Mehler
                           Spring 2022 (January 10 - May 6)
                          10218 - HIST 122 – 001 (MW at 3:00 in MUS 122.
                           10220 - HIST 122 – 002 (T/R 9:30 in MUS 122.

    Dr. Barry Mehler
    Email: mehlerb@ferris.edu
    Office Hours: MW 10:00-12:00 and by appointment. Office Hours are by Zoom.

    This syllabus may be subject to change during the semester!

    A bit about the Professor:
    Dr. Mehler is a senior professor here at Ferris. He has been teaching here for over
    30 years.
    The Shoah Archive Project:
    https://ferris.edu/HTMLS/news/archive/2017/may/shoah.htm
    I am also the director of the Institute for the Study of Academic Racism:
    www.ferris.edu/isar
    ISAR Recognized as National Civil Rights Resource by White House
    http://www.ferris-pages.org/ISAR/white-house.htm
    Or, just google “Barry Mehler” and you will get 122,000 hits, but don’t believe
    everything you read. I am not a weasel despite what they say!
    https://www.amren.com/news/2012/10/phil-rushton-has-died/
    Dr. Mehler’s Bad Dream: https://www.theguardian.com/books/2019/may/18/race-
    science-on-the-rise-angela-saini

    How to Contact Dr. Mehler:
    The best way to contact me is by email (mehlerb@ferris.edu). The subject line should
    always contain the course designation.

    Note: All students, regardless of vaccination status, will be required to
    wear a face mask while in the classroom. If you come to class without a
    mask, I will have one available for you. There will be no eating or
    drinking in the classroom. If you need to eat or drink you will need to
    leave the classroom. If you refuse to wear a mask, I will call security to
    have you removed and report you to the Office of Student Conduct for
    disciplinary action.

    Week I Assignment: Please write a journal essay of at least three pages
    (750 words) describing how the pandemic has affected your life in the
    past year and half. How have things changed for you. How tough has it
    been? If you have been through the disease, how was it? How much




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    anxiety do you have going forward? Do you feel safe and happy or not
    quite? See our Canvas page for instructions on submission.
    The introduction is worth up to 10 points. You can decide what you would like to
    include in your introduction, but I would like to know a few basic facts. What year
    are you in, what are your goals, what is your major, how long have you been at
    Ferris. Do you love or hate history? If you are a history buff, what is your favorite
    subject. If you hate history, why? What was your favorite movie of 2021!

    The Introduction is part of a requirement I have to let the administration know that
    you are actually attending class. At the end of the week, if I haven’t gotten
    something from you, I will have to inform the administration that you are not in the
    class. This is a federal requirement. If you don’t do it, you might lose your benefits!

    Week I: Please review the material in the Introduction module.

    We are starting with Chapter 16: America’s Gilded Age. Your first quiz
    and Inquizitive assignments are due Sunday night January 23rd at
    midnight.

    PREREQUISITE COURSES/SPECIAL SKILLS:
    Prerequisite: None. Special skills: All history courses require good reading skills.
    Students must be able to evaluate reading material, identify the main ideas, and place
    facts in a meaningful context.

    COURSE DESCRIPTION:
    A history of the United States from 1877 to the present. The social, cultural, political, and
    economic developments of this period as well as the European and nonwestern influence
    on our society. This Course meets General Education Requirements: Cultural
    Enrichments and new Fall 2017 Culture.

    COURSE OBJECTIVE/FOCUS:
    1. Gaining a broader understanding and appreciation of American intellectual and
    cultural development.
    2. Discovering the implications of history for self-understanding.
    3. Gaining factual knowledge of American History.
    4. Learning fundamental principles and theories of historical change.
    5. Developing self-discipline, critical reading, test taking, and basic computer skills.
    6. Learning how to express ideas clearly.
    7. Developing a historical understanding of contemporary social issues.

    REQUIRED COURSE MATERIALS:
        Eric Foner, Give Me Liberty: An American History Brief Edition 6th volume
        2. You must also purchase access to InQuizitive. An ebook with online access
        is only $35. Online access is $20. If you want a print copy and to save some
        money, buy a cheap print copy and pay the $20.



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           Ordering options for the store:
           Brief 6e Volume 2 * Chapters 15–28 * Reconstruction to Present:
              • $35.00 Ebook: available for purchase direct for students
                  at digital.wwnorton.com/givemeliberty6brv2
              or through your bookstore with the registration card ISBN: 978-0-393-41821-7
              • $59.00 net Paperback ISBN: 978-0-393-41820-0

           Naomi Oreskes and Erik M. Conway, The Collapse of Western Civilization: A
           View from the Future (New York, Columbia University Press, 2015). This
           little book is only $10.00. ISBN: 9-780231-169547.

    PERFORMANCE CRITERIA:
    Exams: You must complete the Inquizitive exercise and the weekly chapter quizzes
    by Sunday midnight of the week the chapter is due. There will be no extensions on
    exam times. If you have a legitimate reason to miss a quiz let me know and you may
    be excused but the quiz will not be re-opened. Don’t wait until the weekend to do the
    assignments! I would suggest starting with the Inquizitive early in the week. The
    exercise will help you prepare for the quiz.

    There will be opportunities for extra credit during the semester including an
    optional extra credit research paper. If you prefer to be graded on a term paper
    contact me for a Zoom meeting to discuss it. I enjoy meeting with my students,
    especially now, so don’t be shy about asking for a meeting. I’m here for you and my
    schedule is wide open, so whether your working days or nights, we ought to be able
    to find a time to meet.

    COURSE STRUCTURE: (Note: This calendar is subject to change.)
    Week I: 8/31-9/5 – Introduction
          Assignment: Every student must submit a short introduction. This is a
          graded assignment worth 10 points. It must be done by 1/17 because I am
          required to certify to the powers that be that you are really in my class! It is
          a federal government requirement, which means, if I don’t hear from you, I
          will report that you are not participating and you will lose any student aid
          your signed up for, so please, do the introduction!!!

    Week II: 9/6-9/12
          Chapter 16: America’s Gilded Age

    Week III: 9/13-9/19
          Chapter 17: Populist Era pp. 512-545

    Week IV: 9/20-9/26
          Chapter 18: Progressive Era, pp. 546-577

    Week V: 9/27-10/3
         Chapter 19: WWI, pp.578-611




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    Week VI: 10/4-10/10
         Chapter 20: Depression I, 612-642

    Week VII: 10/11-10/17
         Chapter 21: New Deal, pp. 643-675

    Week VIII: 10/18-10/24
         Chapter 22: WWII, pp. 676-710

    Week IX: 10/25-10/31
          Chapter 23: Cold War, 711-739

    Week X: 11/1-11/7
         Chapter 24: 1953-1960, 740-771

    Week XI: 11/8-11/14
         Chapter 25: The Sixties, 773-808

    Week XII: 11/15-11/21
         Chapter 26: Conservatism 1969-1988, 809-842

    Week XIII: 11/22-11/28
         Chapter 27: 1989-2001, 843-916

    Week XIV: 11/29-12/5
         Chapter 28: New Century, 877-917

    Week XV: 12/6- 1/12
         The Collapse of Western Civilization

    XVI: 12/13-12/17
          Conclusions

    Student Learning Outcomes:
    #1>the ability to analyze complex historical problems,
    #2>the ability to critically evaluate historical information from a variety of sources,
    #3>the ability to demonstrate clear and concise communication,
    #4>the ability to collaborate with peers.




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                                       History 230
                                   History of Michigan
                                       Spring 2022
                                 January 10 to May 6, 2022

    Instructor: Dr. Barry Mehler
    Office: ASC 2064
    Off Hours: MW 10:00-12:00 and by appointment.
    Email: mehlerb@ferris.edu
    Note: When sending an email always indicate the course designation (Hist 230).

    Course Title: History of Michigan
    Credit Hours: 3
    Class Meets: Tuesday-Thursday 12:00-1:15 in MUS 122

    This syllabus is subject to change with reasonable notice.

    A bit about the Professor:
    Dr. Mehler is a senior professor here at Ferris. He has been teaching here for
    30 years.
    I am the director of the Shoah Archive Project:
    https://ferris.edu/HTMLS/news/archive/2017/may/shoah.htm
    I am also the director of the Institute for the Study of Academic Racism:
    www.ferris.edu/isar
    Or, just google “Barry Mehler” and you will get 122,000 hits, but don’t believe
    everything you read. I am not a weasel despite what they say!
    https://www.amren.com/news/2012/10/phil-rushton-has-died/
    Youtube: Donahue Show, 1991.
    https://www.youtube.com/watch?v=yeEFjr1pfaY

    General Education: This class counts towards the
     General Education cultural enrichment requirement.

    Course Objectives:

    The purpose of this course is to help each student understand Michigan's cultural,
    political, social, and economic development in the past and its place in the present
    United States and the world. We will study state and local events in the larger
    context of national trends and what is unique and universal about the Wolverine
    state. In doing this we will look at the critical decisions made, who made the
    decisions, what influenced the decision makers, the effects of these decisions on
    Michigan and the United States and whether these actions were in the best interests
    of the state and nation. This course should also increase a student's critical thinking,
    reading, and writing skills.




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    PREREQUISITE COURSES/SPECIAL SKILLS:
    Prerequisite: None. Special skills: All history courses require good reading and
    thinking skills. Students must be able to evaluate reading material, identify the main
    ideas, and place facts in a meaningful context. This course is a discussion of
    Michigan history, not lectures on Michigan history. Much of what I have learned
    about Michigan has come from my students! Class participation can get you an A!

    Special skills: All history courses require good reading skills. Students must be able
    to evaluate reading material, identify the main ideas, and place facts in a meaningful
    context.

    Required Text:
    Bruce A. Rubenstein and Lawrence E. Ziewacz, Michigan: A History of the Great
    Lakes State (John Wiley, 2014).

    Anna Clark, The Poisoned City: Flint’s Water and the American Urban Tradegy.
    (New York: Metropolitcan, 2018).

    Bridge Magazine. https://www.bridgemi.com/
    Bridge Magazine is an online news source devoted to Michigan news. Each
    week we will discuss one or two articles that appear in the magazine.

    Recommended but not Required:
    JoEllen McNergney Vinyard, Right in Michigan’s Grassroots: From the KKK to
    the Michigan Militia (Ann Arbor: University of Michigan Press, 2011).

    PART I: MICHIGAN IN THE EARLY YEARS
     Lecture Topics Will Include:
       Michigan: The Physical
       Environment Early
       Inhabitants
       European Explorers
       and Settlers Michigan
       in the Old Northwest
       Michigan and the War
       of 1812
    READING ASSIGNMENT FOR PART I: Rubenstein & Ziewacz, Chapter I-III

    PART 2: MICHIGAN TAKES SHAPE
    Lecture Topics Will Include:
      Trappers Out Farmers In A Troubled
         Entry into the Union Michigan and
         the Civil War The Lumber and
         Mining Industries Health Food,



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         Breakfast Cereals, and the Kellogg
         Family Progressive Reform in
         Michigan Industry Comes to the
         State Automobiles and the Future of
         the State

    READING ASSIGNMENT FOR PART 2:
    Rubenstein & Ziewacz

    Part 3 MICHIGAN IN THE TWENTIETH CENTURY
    Lecture Topics Will Include:
      Michigan and the Great War
      The 1920s, Business, Booze, and
      Bad Guys The Great Depression
      and the Labor Movement World
      War II: The Arsenal of
      Democracy Race Relations in
      Michigan Michigan in the Post-
      Industrial Society

     READING ASSIGNMENT FOR PART III:
     Rubenstein & Ziewacz, pp. 213-324.
    McNergney Vinyard, Right in Michigan’s Grassroots.

    All other readings will be posted on the course MyFSU page.

    Course requirements and grading policies:
    Class participation: It is impossible to pass this course without significant
    class participation. I always try to give the student the best grade possible. If
    your term paper is really excellent but your exam grades are poor I will
    usually put more weight to the term paper. If you contribute to the class,
    especially a contribution that I can use for future classes, I often give people a
    bump in their grade. In other words, there are a lot of different ways to
    achieve an. Below is the standard weight I give to our assessment tools.

    Examinations: 200 Points.
    There will be two major exams - a midterm and a final exam. The midterm and final
    will consist of short answer and take-home essay questions. All work done at home
    must be typed or computer printed. No handwritten work will be accepted. There
    may also be quizzes.

    Bridge Magazine Weekly Assignment: 50 points
    Journal Assignments: 50 points

    Term Paper: 200 points.
    Each student must prepare a term paper. Information on term papers will be posted
    separately in the Course Documents folder.



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    In short, you have three hundred points divided between exams and a term
    paper. However, I have been known to give students an A for creative
    engagement in the class. For example, producing a YouTube, doing original
    research and in general contributing to our exploration.

    Grade Scale:
          A        = 475
          A-       = 450
          B+       = 440
          B        = 325
          B-       = 300
          C+       = 290
          C        = 275
          C-       = 250
          D+       = 240
          D        = 225
          D-       = 200




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    Outcomes and Objectives:
    After taking this course Ferris graduates should be able to:
             graduates of this course should be able to demonstrate an increased
               understanding of the cultural dynamics that have created the modern
               state of Michigan.
             Students will have an increased ability to interpret cultural influence on
               the creation of a state identity. Students will learn to appreciate and
               understand that Michigan differs significantly from Minnesota and that
               those differences represent deep divisions which are historically rooted.
             The student will be better able to make and justify ethical distinctions in
               the application of science to public policy.
             The student will exhibit an improved ability to understand contemporary
               issues involving controversial scientific notions and be able to make
               informed choices on such issues. For example, some in the pro-life
               movement are currently calling for the Supreme Court to reverse Roe v.
               Wade based on “developments in the scientific understanding of the
               origins of life.” Our students will be better able to evaluate such
               statements which are ubiquitous in our culture.
             Students will come away with an increased knowledge of the
               methodology of historical analysis as a discipline in the humanities.
            

    STUDENT LEARNING OUTCOMES:
    FSU Gen Ed Cultural Enrichment Objectives:
       1. Be able to look at works or historical events from different perspectives.
       2. Have increased knowledge about some aspects of cultures.
       3. Have increased knowledge of the techniques or methodology of a discipline
       in the humanities.

    Michigan Dept of Ed Content Standards:
    1.5 Understand narratives about major eras of U.S. history by identifying people
    involved, describing the setting, and sequencing events.
    1.7 Reconstruct the past by comparing interpretations written by others from a
    variety of perspectives and creating narratives from evidence.




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                                     History 361
                          Genocide in the Twentieth Century
                          Spring 2022 (January 10 – May 6)

    Instructor: Dr. Barry Mehler
    Email: mehlerb@ferris.edu – always indicate which class you are in. I have
    almost 200 students in five classes. I need to know which class you are in when
    you write!
    Zoom Office Hours: MW 10:00-12:00 – I will send out a URL right before the
    office opens.

    Course Title: Genocide in the Modern World
    CRN: 12029 - HIST 361 - VL1
    Credit Hours: 3
    This is a fully online class, but we will try to find a time when we can all meet on
    Zoom for short discussions.

    A bit about the Professor:
    Dr. Mehler is a senior professor here at Ferris. He has been teaching here for over
    30 years.
    I am created the Shoah Archive Project:
    https://ferris.edu/HTMLS/news/archive/2017/may/shoah.htm
    I am also the director of the Institute for the Study of Academic Racism:
    www.ferris.edu/isar
    Or, just google “Barry Mehler” and you will get 122,000 hits, but don’t believe
    everything you read. I am not a weasel despite what they say!
    https://www.amren.com/news/2012/10/phil-rushton-has-died/
    Dr. Mehler’s Bad Dream: https://www.theguardian.com/books/2019/may/18/race-
    science-on-the-rise-angela-saini

    General Education: This class counts towards the
     General Education cultural enrichment requirement and Global Diversity.

    Official Course Description:
    This course offers a history of racism in the modern world, from European colonial
    expansion to the present. Special emphasis will be placed upon the post-World War II era
    and racisms impact on the United States, Europe, Africa and the Middle East. Topics
    include: anti-Semitism and the rise of racism in the modern world; global migration and
    ethnic relations in the 19th and 20th centuries; race science and the eugenics movement,
    and contemporary racist ideologies including the theological, scientific and ideological
    bases for modern racist movements. Meets General Education Requirements for Culture
    and Global. Pre-Requisite: ENGL 250. Typically offered Fall semester.

    Expanded Course Objectives:
    This seminar focuses on the history of the American response to genocide in the
    twentieth century. Our main text, “A Problem From Hell” by Samantha Power is a



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    Pulitzer Prize winning study of the American response to genocide in the twentieth
    century. Besides this text, we will be listening to video-taped recordings of victims,
    criminals and rescuers from all the major genocides of the twentieth century. We
    will begin with the Armenian genocide (1915-1917), The Holocaust (1933-1945),
    the Pol Pot genocide in Cambodia (1976-1979), the Rwandan Genocide (1994) and
    the genocide against Muslims in Bosnia, Srebrenica and Kosovo. During the
    semester students will be expected to pay particular attention to the ongoing
    current genocides against the Yazidi in Iraq and Syria, the Rohingya in Myanmar, the
    Uighurs in China as well as Southern Sudan. We will make extensive use of the
    Shoah Archive of over 50,000 full-length biographies of victims and rescuers for all
    the above genocides. The Shoah Archive is an extraordinary resource that was a gift
    of a Ferris Alum. Dr. Mehler was the first Director of the Shoah Project.

    Our aim will be to understand the historical roots, immediate causes,
    implementation, and aftermath of state-sponsored violence and then to attempt to
    make comparisons among them. We will begin by considering some of the
    theoretical and definitional issues that genocide poses. Using both primary and
    secondary sources, we will focus on historians’ interpretations of genocide. Then we
    will compare the historians’ versions of events to the memory of the genocides
    recorded by victims and perpetrators. Finally, we will turn our attention to the
    representation of genocide in feature and documentary films. Our main aim in all of
    this is both to comprehend genocidal violence as a particularly vicious form of state
    policy and also as a human and personal experience of terror and murder. To do so,
    we will have to confront not only killers and their victims, but bystanders and
    survivors. This material is disturbing and poses profound questions about human
    behavior and human nature.

    Warning: The subject matter of this course is very disturbing and can stir
    emotional and physical trauma in the student. Some people like watching horror
    movies, others experience nightmares. These are individual difference. You may
    think you won’t be affected by the material and find yourself later experiencing
    physical problems. Please take a moment to consider the advisability of taking this
    course. There is still time to switch to a course that might be less emotionally
    stressful. If you have a problem, please let me know, our counseling staff is ready to
    help. If for any reason, you can’t continue participating in the course as it is
    structured, I will work out an independent course of study for you at your comfort
    level.

    If you do experience problems, here are a couple of places to go. You can should talk
    to me if you feel comfortable. I’m not a trained therapist and I certainly wouldn’t be
    offended if you didn’t feel like discussing a problem with me or if after talking to me
    you felt you needed more professional help. Here are a couple of resources to get
    you started:
    https://www.ferris.edu/HTMLS/studentlife/PersonalCounseling/steppedcare.htm
    https://www.ferris.edu/HTMLS/studentlife/PersonalCounseling/therapeutic-services.htm




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    PREREQUISITE COURSES/SPECIAL SKILLS:
    There are no prerequisites for this course. All history courses require good reading and
    thinking skills. Students must be able to evaluate reading material, identify the main
    ideas, and place facts in a meaningful context.

    You will also be required to write a 2,500-word term paper or research project. The
    project needs to utilize the Shoah Archive and must be based on both primary and
    secondary sources. We teach how to write a research paper in our “Craft of History”
    course. Hist 250 is not a requirement for this course, but I assume you know the basics of
    using the FLITE databases, creating bibliography which distinguishes between primary
    and secondary sources.

    This course will require you to do four things: listen carefully to selected testimonies
    from the Shoah Archive, read the assigned materials, share your observations and in the
    second half of the semester, participate in a presentation based on your research. All
    students will be required to submit a 2500-word essay at the end of the semester. In
    addition, there will be a midterm and final as well as quizzes.

    Required Text:
    Most of the readings will be posted online. Don’t buy any of these until you see our
    Modules. I provide a lot of the required text material and notes on the readings.

    Samantha Power, “A Problem From Hell” America and the Age of Genocide (NY:
         Basic Books, 2002/2013).

    Omar Bartov and Phyllis Mack, In God’s Name: Genocide and Religion in the
         Twentieth Century (New York 2011).

    Henry Greenspan, “Survivor Accounts” in The Oxford Handbook of Holocaust
          Studies (2010) pp .414-424.

    Recommended:
    Primo Levi, The Drowned and the Saved (New York: Vintage, 1988).

    Sonja M. Hedgepeth and Rochelle G. Saidel (editors), Sexual violence against Jewish
          women during the Holocaust (Waltham: Brandies University Press, 2010).




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    Videos:
    You must fill out a “Video Reporting Form” for each film you watch in order to get
    credit. We will be watching the following:

    Watchers of the Sky
    Watchers of the Sky is a 2014 American documentary film directed by Edet Belzberg. The
    film premiered at the 2014 Sundance Film Festival on January 20, 2014 in the U.S.
    Documentary Competition. It won the two awards at the festival.
    Initial release: January 20, 2014
    Director: Edet Belzberg
    The Killing Fields (Available on YouTube)
    New York Times reporter Sydney Schanberg (Sam Waterston) is on assignment covering
    the Cambodian Civil War, with the help of local interpreter Dith Pran (Haing S. Ngor) and
    American photojournalist Al Rockoff (John Malkovich). When the U.S. Army pulls out amid
    escalating violence, Schanberg makes exit arrangements for Pran and his family. Pran,
    however, tells Schanberg he intends to stay in Cambodia to help cover the unfolding story --
    a decision he may regret as the Khmer Rouge rebels move in
    Release date: February 1, 1985.
    Awards: Academy Award for Best Actor in a Supporting Role and many other awards.
    Shake Hands with the Devil (Available on YouTube)
    Lt. Gen. Roméo Dallaire led peacekeeping mission to Rwanda during the genocide in 1994.
    Initial release: September 28, 2007 (Canada)
    Hotel Rwanda
    Paul Rusesabagina (Don Cheadle), a Hutu, manages the Hôtel des Mille Collines and lives a
    happy life with his Tutsi wife (Sophie Okonedo) and their three children. But when Hutu
    military forces initiate a campaign of ethnic cleansing against the Tutsi minority, Paul is
    compelled to allow refugees to take shelter in his hotel. As the U.N. pulls out, Paul must
    struggle alone to protect the Tutsi refugees in the face of the escalating violence later known
    as the Rwandan genocide
    Release date: December 22, 2004 (USA)

    Module I: Introduction to Genocide
    Student introductions: Please introduce yourself to the rest of the class. Explain who
    you are and what program you’re in and why you chose this degree. If you like you may
    share a bit about your life and family, hobbies, ambitions, phobia’s and a pic or your
    avatar! Really, whatever you feel comfortable sharing. I will start first and introduce
    myself to you.

    Discussion Topics Will Include:
    How to define genocide; Raphael Lemkin and the birth of the term, the Nuremberg
    Tribunal and the creation of “crimes against humanity.”
    Is the Holocaust unique? Comparative genocide studies. How do we compare
    atrocities?
    A short history of genocides: Armenian, Jewish, Cambodia and Rwanda.




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    The scope of genocide today, Yazidis, Dafur, Rohingya.
    Video: Watchers of the Sky
    WATCHERS OF THE SKY interweaves four stories of remarkable courage, compassion
    and determination, while setting out to uncover the forgotten life of Raphael Lemkin –
    the man who created the word ‘genocide,’ and believed the law could protect the world
    from mass atrocities. Inspired by Samantha Power’s Pulitzer Prize-winning book, A
    Problem from Hell, WATCHERS OF THE SKY takes you on a provocative journey from
    Nuremberg to The Hague, from Bosnia to Darfur, from criminality to justice, and from
    apathy to action.
    http://watchersofthesky.com/about-the-film/
    Youtube Trailer: https://www.youtube.com/watch?v=1e0HFCKcVhc

    READING ASSIGNMENT FOR PART I
    Week I: Power, Preface, xi-xxi; Chapter I, pp. 1-17.
    Week II: Power, Chapters 2-3, pp. 17-46
    Week III: Power, Chapter 4-5, pp. 47-86.
    Week IV: Power, Chapter 6 -7, pp. 87-170 (Cambodia)
           Film: The Killing Fields
           The Killing Fields is a 1984 British biographical drama film about the Khmer
           Rouge regime in Cambodia, which is based on the experiences of two journalists:
           Cambodian Dith Pran and American Sydney Schanberg.
           Youtube Trailer: https://www.youtube.com/watch?v=mTfqXmVVjPU
    Week V: Power, Chapter 8, pp. 171-246 (Iraq)
    Week VI: Power, Chapter 9, pp. 247-328 (Bosnia)
    Week VII: Power, Chapter 10, pp. 329-390 (Rwanda)
    Week VIII: Power, Chapter 11-12, pp. 391-474 (Srebrenica and Kosovo)
    Week IX: Power, Chapter 13-14, pp. 475-516

     PART 2: Testimony

    READING ASSIGNMENT FOR PART 2:

    Week X: Henry Greenspan, “Survivor Accounts” in The Oxford Handbook of
    Holocaust Studies (2010) pp .414-424.
    Primo Levi, The Damned and the Saved
          Term Papers Due

    Week XI: Sonja M. Hedgepeth and Rochelle G. Saidel (editors), Sexual violence
    against Jewish women during the Holocaust (Waltham: Brandies University Press,
    2010).




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    Part 3: Students will choose five testimonies from the Shoah Archive to present to the
    group.
    See the Testimony Rubric on Blackboard.
    Week XII-XVI

    Course requirements and grading policies:
    Class participation: It is impossible to pass this course without significant class
    participation. Students will be required to present material and participate in the
    class discussions.

    Examinations: 200 Points.
    There will be two major exams - a midterm and a final exam. The midterm and final will
    consist of short answer and take-home essay questions. All work done at home must be
    typed or computer printed. No handwritten work will be accepted. There may also be
    quizzes.

    Journals: 100 Points
    Students must turn in one personal journal each week. You are required to write at least
    100 words for each journal.

    Term Paper: 200 points
    Video and Shoah Reporting forms: 100 points.
    Term Project presentation: 100 points.
    Each student must prepare a term paper. Information on term papers will be posted
    separately in the Course Documents folder.

    Ferris State University History Program Student Learning Outcomes (SLOs):
          SLO #1—The ability to analyze complex historical problems.
           SLO #2—The ability to critically evaluate historical information from a variety of
           sources.
           SLO #3—The ability to demonstrate clear and concise communication.
           SLO #4—The ability to collaborate with peers.


    Grade Scale:
          A        = 675
          A-       = 650
          B+       = 640
          B        = 625
          B-       = 600
          C+       = 590
          C        = 575
          C-       = 550
          D+       = 540
          D        = 525
          D-       = 400



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    Outcomes and Objectives:
    After taking this course Ferris graduates should be able to:
             graduates of this course should be able to demonstrate an increased
               understanding of the cultural dynamics that have created modern genocide.
             Students will have an increased ability to understand the causes of modern
               demicide and genocide.
             The student will be better able to make and justify ethical distinctions in the
               application of science to public policy.
             The student will exhibit an improved ability to understand contemporary
               issues involving genocide.
             Students will come away with an increased knowledge of the methodology of
               historical analysis as a discipline in the humanities.
            

    STUDENT LEARNING OUTCOMES:
    FSU Gen Ed Cultural Enrichment Objectives:
       1. Be able to look at works or historical events from different perspectives.
       2. Have increased knowledge about some aspects of cultures.
       3. Have increased knowledge of the techniques or methodology of a discipline in
       the humanities.




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